                     UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA
                              1:18-CV-282

NUVASIVE, INC.,                       )
                                      )
            Plaintiff and             )
            Counterclaim Defendant,   )
                                      )
v.                                    )
                                      )
MICHAEL JONES and KENNETH             )
KORMANIS,                             )
                                      )
         Defendants.                  )
MICHAEL JONES,                        )            STIPULATED
                                      )         PROTECTIVE ORDER
            Counterclaim Plaintiff,   )
                                      )
v.                                    )
                                      )
INOSPINE, LLC, and JARRETT CLAY,      )
                                      )
            Additional Counterclaim   )
            Defendants.               )
                                      )
KENNETH KORMANIS,                     )
                                      )
            Crossclaim Plaintiff,     )
                                      )
v.                                    )
                                      )
INOSPINE, LLC,                        )
                                      )
            Crossclaim Defendant.     )
                                      )




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       In order to preserve and maintain the confidentiality of certain information served,

produced or otherwise disclosed or communicated by, between, or among the parties to

this lawsuit, the Court, and/or third persons/entities, all parties to this lawsuit hereby

stipulate and agree, and IT IS ORDERED THAT:

       1.     Information or documents served, produced, or otherwise disclosed or

communicated by any person or entity in connection with this lawsuit (“Materials”) that

constitutes or contains confidential or proprietary information, including but not limited to

information or documents related to the business operations of any party or third party,

including, but not limited to, NuVasive, Inc., Inospine, LLC, Quinn Michael, Inc., ReAlign

Spine, LLC, Novus Technologies, Inc., NuTech Spine, Inc., NuTech Medical, Inc., and

Alphatec Spine, Inc., and any information derived from such information or documents,

including, but not limited to, written discovery responses, extracts, memoranda, notes,

recordings or transcripts of deposition testimony, and correspondence quoting from or

summarizing such information, shall hereafter be referred to as “Protected Documents.”

When used in this Protective Order, the word “documents” is used in its broadest sense and

means all written and computerized materials, videotapes, and all other tangible items and

items in magnetic or electronic form. Protected Documents designated by any party or

third party as either or both “Confidential—Subject to Protective Order” or “For Attorney

Eyes Only,” and served, produced, or otherwise communicated in this action shall be

Protected Documents and given confidential treatment as described below.



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       2.     Materials produced or otherwise disclosed or communicated in this action

that a person or entity deems to constitute a Protected Document may be designated as

such as follows: (1) by the person or entity producing, disclosing, or communicating the

materials marking the document or thing with a legend stating “Confidential—Subject to

Protective Order” or “For Attorney Eyes Only,” or by either or both of such written

designation(s) using Bates number type specifications or other conspicuous designation; or

(2) by any party receiving them making such written or, if during a proceeding with a court

reporter present, on-the-record designation. Any written discovery response marked with

the legend “Confidential—Subject to Protective Order” or “For Attorney Eyes Only” must

be bound separately from any response(s) not constituting a Protected Document.

       3.     Protected Documents shall be treated as confidential and used solely for the

purpose of prosecuting or defending against any claim asserted in this action. Except upon

the prior written consent of the producing person or entity, or upon further order of the

Court, any Protected Documents designated “For Attorney Eyes Only” may be shown,

disseminated, discussed or disclosed by the recipients only to the following persons:

       a.    Counsel of record in this action, other members of counsel’s law firm, and

             any other counsel associated to assist in the preparation or trial of this action;

      b.     Employees of counsel of record or of associated counsel who assist in the

             preparation or trial of this action;

      c.     Outside experts and consultants retained by any party in good faith for the

             preparation or trial of this action, provided that no disclosure shall be made
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              to any expert or consultant who is employed by a direct competitor of the

              disclosing person or entity or by any party’s subsidiary or successor;

       d.     Current employees or agents of the party or person who produced the

              Protected Document;

       e.     Stenographic reporters engaged for depositions or proceedings necessary to

              this action;

       f.     Employees of outside copy services used to make copies of Protected

              Documents and outside ESI vendors used to host Protected Documents; and

       g.     The Court and its staff.

       4.     Except upon the prior written consent of the producing person or entity, or

upon further order of the Court, any Protected Documents designated “Confidential—

Subject to Protective Order” and not designated “For Attorney Eyes Only” may only be

shown, disseminated, discussed, or disclosed to the persons identified in subparagraphs (a)

through (g) of paragraph 2 above and to the parties to this action.

       5.     Before receiving access to any Protected Documents produced by an

opposing party, each person described in subparagraphs 2(c) and 2(e) above shall be advised

of the terms of this Protective Order, shall be given a copy of this Protective Order, and

shall agree in writing to be bound by its terms and to be subject to the jurisdiction of the

federal District Court for the Middle District of North Carolina, by either signing a copy

of this Protective Order or a declaration in the form attached as Exhibit 1 or, if during a



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deposition, then by oral declaration on the record in substantially the same language as

Exhibit 1.

       6.     Prior to designating any material as “Confidential—Subject to Protective

Order,” the producing person or entity will make a bona fide, good faith determination that

the material does in fact contain confidential or proprietary information.          Prior to

designating any material as “For Attorney Eyes Only,” the producing person or entity will

make a bona fide, good faith determination that the material does in fact contain

confidential or proprietary business information and that such information is of such a

sensitive nature that disclosure should not be made to the other party to this action. If a

receiving party disagrees with the designation of any document, it will so notify the

producing person or entity in writing at any time after production of the designated

document and, if the parties cannot resolve the issue within ten calendar (10) days of the

producing person or entity’s receipt of the notice, the objecting party will have the option

to apply to the Court for the purpose of establishing that good cause does not exist for the

document to be protected. The party who designated a document as “Confidential—

Subject to Protective Order” or “For Attorney Eyes Only” has the burden of proving good

cause exists for a document to come within the protection of or be subject to this Protective

Order. The objecting party will treat any document so-marked as “Confidential-Subject to

Protective Order” or “For Attorney Eyes Only” as originally designated, until the Court

enters a contrary ruling on the matter.



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        7.    To the extent that Protected Documents designated as “Confidential—

Subject to Protective Order” or “For Attorney Eyes Only,” are used in any filing with the

Court, such filed documents or information shall be filed in accordance with Local Rule

5.4.

        8.    To the extent that Protected Documents are used in the taking of depositions,

such documents or information shall remain subject to the provisions of this Protective

Order. Such documents are to be maintained under seal by the court reporter. With respect

to any deposition or hearing transcript, any party or third party may, on the record or within

thirty (30) days after receipt of the transcript, designate portions of the transcript as

“Confidential—Subject to Protective Order” and/or “For Attorney Eyes Only” under this

Protective Order. In order to protect this right, except for those portions designated “For

Attorney Eyes Only” (which the parties anticipate will be made on the record during the

deposition), the entire transcript shall be treated as “Confidential—Subject to Protective

Order” for the thirty (30) days after receipt of the transcript. However, this provision does

not prevent the deponent from reviewing the transcript.

        9.    After final termination of this action and upon written request by the producing

person or entity, counsel shall within thirty (30) days of receipt of such written request

destroy (or, at the producing person or entity’s request and expense, return to the producing

person or entity) the Protected Documents and all copies of those documents in the

possession of counsel, his or her clients, and counsel’s clients’ consulting and testifying

experts (except that counsel for each party may retain one copy of the documents for the
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sole purpose of retaining his or her file intact). Counsel shall certify in writing that all such

documents and copies thereof have been destroyed (or returned to the producing person or

entity), and each expert who received copies of such documents shall also certify that he

or she has destroyed all notes, memoranda or other documents created by that expert from

or containing information contained in the Protected Documents.

       10.    In the event either party inadvertently discloses documents or information

covered by the attorney-client privilege or work product doctrine during the course of

discovery, whether or not such documents or information are designated as Protected

Documents, such disclosure shall not constitute a waiver of the attorney-client or work

product privileges. Upon receiving notice from the producing person or entity that

privileged material has been inadvertently disclosed, the non-producing person or entity

shall immediately gather and destroy all identified documents, all copies of those

documents and all summaries compiled based on the information in those documents and

shall certify in writing to the producing person or entity that the documents have been

destroyed.

       11.    For the avoidance of doubt, no provision of this Stipulated Protective Order

prohibits or limits any person or entity from in any way disclosing or using her/his/its own

documents or information or documents or information of which she/he/it has possession

or use by means other than through discovery, disclosure, or other communication in this

lawsuit.



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       12.    All parties reserve the right to apply to the Court for an order modifying or

amending the terms of this Protective Order, either upon consent of all other parties or upon

a showing of good cause and other appropriate showing under the particular circumstances.

       13.    After the termination of these matters, the provisions of this Protective Order

shall continue to be binding.

       14.    This Protective Order shall be binding upon the parties hereto, upon their

attorneys and their agents, and upon the parties’ and their attorneys’ successors, executors,

personal representatives, administrators, heirs, legal representatives, assigns, subsidiaries,

divisions, employees, agents, independent contractors, or other persons or organizations over

which they have control.

       SO STIPULATED:


 /s/Jared E. Gardner                              /s/Paul A. Capua
 Jared E. Gardner (N.C. State Bar No. 28275)      Paul A. Capua (N.C. State Bar No. 40239)
 Tyler B. Peacock (N.C. State Bar No. 48659)      Capua Law Firm, P.A.
 Gardner Skelton PLLC                             164 Depot Street
 505 East Boulevard                               Boone, North Carolina 28607
 Charlotte, North Carolina 28203                  Telephone: (828) 264-0260
 Telephone: (704) 335-0350                        Fax: (828) 378-0236
 Fax: (704) 390-7027                              E-mail: pcapua@capualaw.com
 E-mail: jared@gardnerskelton.com                 Attorneys for NuVasive, Inc., Inospine,
 E-mail: tyler@gardnerskelton.com                 LLC, and Jarrett Clay
 Attorneys for Michael Jones




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/s/Mathew E. Flatow                            /s/M. Thomas McFarland
Mathew E. Flatow (N.C. State Bar No. 35282)    Christopher W. Cardwell
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                                               Fax: (615) 256-6339
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                                               E-mail: tmcfarland@gsrm.com
                                               Attorneys for NuVasive, Inc.



     SO ORDERED, this the 6th day of September, 2018.


                                                    /s/ L. Patrick Auld
                                                       L. Patrick Auld
                                              United States Magistrate Judge




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                                       EXHIBIT 1

                      UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF NORTH CAROLINA
                               1:18-CV-282

NUVASIVE, INC.,                             )
                                            )
             Plaintiff and                  )
             Counterclaim Defendant,        )
                                            )
v.                                          )
                                            )
MICHAEL JONES and KENNETH                   )
KORMANIS,                                   )
                                            )
         Defendants.                        )
MICHAEL JONES,                              )   DECLARATION TO STIPULATED
                                            )       PROTECTIVE ORDER
             Counterclaim Plaintiff,        )
                                            )
v.                                          )
                                            )
INOSPINE, LLC, and JARRETT CLAY,            )
                                            )
             Additional Counterclaim        )
             Defendants.                    )
                                            )
KENNETH KORMANIS,                           )
                                            )
             Crossclaim Plaintiff,          )
                                            )
v.                                          )
                                            )
INOSPINE, LLC,                              )
                                            )
             Crossclaim Defendant.          )
                                            )




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       I, ______________________________, declare as follows:

       1.      I have read the Stipulated Protective Order attached hereto, and I understand

and will abide by its terms and meanings.

       2.      I agree that my signature below submits me to the jurisdiction of the federal

District Court for the Middle District of North Carolina and binds me to the provisions of

the Stipulated Protective Order.

       3.      I declare under penalty of perjury under the laws of the State of North

Carolina and of the United States of America, 28 U.S.C. § 1746, that the foregoing is true

and correct.

EXECUTED this _______ day of ________________, ________.



                                            _____________________________________




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